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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                                  CASE 8:11-cv-1086-MSS-EAJ


ROBERT COHEN, and
ACCESS FOR THE DISABLED, INC.,

        Plaintiff,

vs.

B.T. FT. MYERS, INC.,
WENDY'S INTERNATIONAL, INC.,
DEBORAH R. ROBERTSON,
KATHERINE WILDEY, and
LAURENCE B. OETH,

      Defendant.
_____________________________________/


                                  NOTICE OF SETTLEMENT

        Plaintiffs provide this Notice of Settlement, and state:

        1.      Plaintiffs have reached a settlement agreement with Defendants as to the

resolution of all claims against them.

        2.       Plaintiffs request thirty (30) days to submit a joint stipulation requesting the

dismissal of this matter, based upon settlement terms, and defense counsel’s unavailability

during coming week.

        WHEREFORE, Plaintiffs provide this Notice of the Settlement and respectfully request

that the Court vacate all existing litigation dates in this matter as it has been resolved in its

entirety.

                           [Signature and certificate on following page]




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DATED: August 28, 2012.

                                                   Respectfully submitted,


                                                   By:    /s/ Daniel B. Reinfeld
                                                          DANIEL B. REINFELD, ESQ.
                                                          Florida Bar No.: 174815
                                                          DILL & REINFELD, PLLC
                                                          Attorneys for the Plaintiff
                                                          Center Court Building
                                                          2450 Hollywood Boulevard
                                                          Suite 310
                                                          Hollywood, FL 33020
                                                          Telephone: (954) 558-8139
                                                          Facsimile: (954) 628-5054
                                                          E-Mail: dan@reinfeldlaw.com


                                CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

Court via CM/ECF on August 28, 2012. We further certify that the foregoing was served on all

counsel or parties of record on the attached Service List either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

parties who are not authorized to receive electronic Notices of Filing.

                                                   Respectfully submitted,


                                                   By:    /s/ Daniel B. Reinfeld
                                                          DANIEL B. REINFELD, ESQ.
                                                          Florida Bar No.: 174815
                                                          DILL & REINFELD, PLLC
                                                          Attorneys for the Plaintiff
                                                          Center Court Building
                                                          2450 Hollywood Boulevard
                                                          Suite 310
                                                          Hollywood, FL 33020
                                                          Telephone: (954) 558-8139
                                                          Facsimile: (954) 628-5054
                                                          E-Mail: dan@reinfeldlaw.com



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               ROBERT COHEN, et al., v. B.T. FT. MYERS, INC., et al.,
                        Case 8:11-cv-1086-RAL-EAJ
                                 Service List



CORY J. PERSON
BUTLER PAPPAS, LLP
Suite 500
777 S Harbour Island Blvd
Tampa, FL 33602
813/281-1900, Ext. 327
Fax: 813/281-0900
Email: cperson@butlerpappas.com


F. ROBERT RADEL , II
BUTLER PAPPAS, LLP
Suite 500
777 S Harbour Island Blvd
Tampa, FL 33602-5723
813/281-1900
Fax: 813/281-0900
Email: fradel@butlerpappas.com




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